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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 4:06CR124-P-D

CHARLES BARRETT MERRILL, ET AL.,                                               DEFENDANTS.

                                 ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Charles Barrett Merrill’s motion to

continue trial [191]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for March 9, 2009. Defense counsel for Charles Barrett Merrill avers

that he has been ordered to begin a six-week trial on February 17, 2009 in the United States District

Court for the Eastern District of Kentucky in the matter of U.S. v. William J. Gallion, et al., Criminal

Action No. 07-CR-39-WOB-02. The Government has advised that it does not object to the

continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(7)(A), the period of delay from March 9, 2009 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(7)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense. As such, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial. The time

is also excludable as to the co-defendants pursuant to 18 U.S.C. section 3161(h)(6) because the

period of delay is reasonable and no motion for severance has been granted.

        IT IS THEREFORE ORDERED AND ADJUDGED that:


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       (1) Defendant Charles Barrett Merrill’s motion to continue trial [191] is GRANTED;

       (2) Trial of this matter is continued as to all defendants until Monday, May 18, 2009 at 9:00

a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from March 9, 2009 to May 18, 2009 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is April 27, 2009; and

       (5) The deadline for submitting a plea agreement is May 4, 2009.

       SO ORDERED this the 20th day of January, A.D., 2009.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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